Case 2:14-cv-06056-GXB Document 23 Filed 09/16/15 Page 1 of 29 PageID #: 335




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
-----------------------------------------------------------------------x
KARLA LOPEZ-SERRANO,

                          Plaintiff,                                       MEMORANDUM OF
                                                                           DECISION AND ORDER
        -against-                                                          14-cv-6056(ADS)(GRB)

ALLISON ROCKMORE,

                           Defendant.
-----------------------------------------------------------------------x

APPEARANCES:

STEVEN J. MOSER, P.C.
Attorney for the Plaintiff
3 School Street, Suite 70B
Glen Cove, NY 11542
      By: Steven John Moser, Esq., Of Counsel

FEATHER LAW FIRM, PC
Attorneys for the Defendant
666 Old Country Road, Suite 605
Garden City, NY 11530
      By: David S. Feather, Esq., Of Counsel

SPATT, District Judge:

        On October 15, 2014, the Plaintiff Karla Lopez-Serrano (“Lopez-Serrano” or

the “Plaintiff”) commenced this action against her former employer, the Defendant

Allison Rockmore (“Rockmore” or the “Defendant”), alleging violations of the Fair

Labor Standards Act (“FLSA”) and the New York Labor Law (“NYLL”).

        On the same day, the Plaintiff filed an amended complaint, which is

currently the operative pleading in this case.




                                                         1
Case 2:14-cv-06056-GXB Document 23 Filed 09/16/15 Page 2 of 29 PageID #: 336




         On December 1, 2014, Rockmore filed a motion, pursuant to Federal Rule of

Civil Procedure (“Fed. R. Civ. P.”) 12(b)(6), seeking to dismiss the amended

complaint. Rockmore’s motion to dismiss is presently before the Court.

         On January 5, 2015, Lopez-Serrano opposed the motion to dismiss and cross-

moved, pursuant to Fed. R. Civ. P. 15(a), seeking leave of the Court to further

amend her complaint. Lopez-Serrano’s cross-motion is also presently before the

Court.

         For the reasons set forth in this opinion, the Defendant’s motion is denied

and the Plaintiff’s cross-motion is granted.

                                 I.    Background

         The following facts are drawn from the amended complaint and are construed

in favor of the Plaintiff.

A.       The Plaintiff’s Employment

         The parties are both adult individuals residing in Nassau County, New York.

Rockmore is an attorney licensed to practice in the State of New York.

         In December 2011, Lopez-Serrano became employed as a live-in domestic

worker in Rockmore’s home in Syosset, New York. Rockmore allegedly paid Lopez-

Serrano a salary of $425 to $500 per week. It is alleged that Rockmore neither

recorded the hours worked by Lopez-Serrano nor has personal knowledge of the

actual hours she worked. Nevertheless, allegedly, the Plaintiff’s typical workweek,

during which she resided in Rockmore’s home, was from Monday morning to Friday

evening. Rockmore usually paid the Plaintiff on Fridays.




                                           2
Case 2:14-cv-06056-GXB Document 23 Filed 09/16/15 Page 3 of 29 PageID #: 337




      Lopez-Serrano alleges that she worked for Rockmore on September 10, 11,

12, 13, and 14, 2012 (the “Relevant Time Period”). However, allegedly she did not

receive payment on Friday, September the 14th, as would have been the usual

occurrence. To date, Lopez-Serrano asserts that she has not received payment for

her work during the Relevant Time Period.

      The amended complaint sets forth a series of excerpted text messages that,

allegedly, were exchanged between the parties in the following days and weeks.

The Court notes that the sampling of messages specifically identified in the

amended complaint does not reflect the parties’ complete conversations.           In

addition, Rockmore provided a computer print-out, which reflects more of the

conversations, but that version, too, is obviously incomplete. Without expressing an

opinion at this time as to the appropriateness of considering the text message print-

outs on a motion under Rule 12(b)(6), the court will reproduce the parties’

conversation insofar as it has been provided in the record:

(Sun. 9/16/12)   LOPEZ-SERRANO: Hi Mrs A,hope u n kids r ok, Mrs A can u
                                give off tomorrow? Is not inportant i'm just
                                asking to have the day off to do stuff.
                 ROCKMORE:      I’m sorry Karla. But I can’t this time. It’s a
                                holiday [Rosh Hashana] and I really need
                                your help. Another time. Ok?
                 LOPEZ-SERRANO: Ok i will see you tomorrow
(Mon. 9/17/12)   ROCKMORE:      Hi Karla. Good morning. Just checkung to
                                see what time u will be here I have to leave
                                soon. Thank u




                                          3
Case 2:14-cv-06056-GXB Document 23 Filed 09/16/15 Page 4 of 29 PageID #: 338




                  LOPEZ-SERRANO: Hi, Mrs A,i'm sorry but i can come to work
                                 because i had an emergency of a sister she’s
                                 sick n she’s might go back to el salvador n
                                 that’s why she ask for my sister n me to
                                 come over before she any thing happen. She
                                 leave at 5 hours away from here we r not
                                 comeing back in to tomorrow night.
(Tues. 9/18/12)   ROCKMORE:      Hi Karla.       I’m sorry you have family
                                 emergency. It sounds like u have a lot to
                                 deal with. The weather is so bad too. You
                                 might as well take care of ur sister for the
                                 rest of the week. I’ll see u Monday. Take
                                 care.
                  LOPEZ-SERRANO: Hi,thank you so much.i will see u
                                 monday.tell Lande i say hi thanks
(Sun. 9/23/12)    ROCKMORE:      Hi Karla. It’s Been a long week. I haven’t
                                 heard from u. I Don’t even know if you are
                                 back from your sister who lives far away.
                                 Anyway tomorrow is not a good day so don’t
                                 come. I will call you tomorrow.
                  LOPEZ-SERRANO: Hi,ok i'll talk to u tomorrow thank you,good
                                 night.
(Mon. 9/24/12)    LOPEZ-SERRANO: Hi,Mrs Allison, I’m been waiting for your
                                 call.what r u want me to do.come back to
                                 work for you or not any more? I really need
                                 to know so i know what to do.please let me
                                 know soon.
(Tues. 9/25/12)   LOPEZ-SERRANO: Hi Mrs A, I’m sorry about all this,i really
                                 need to talk to you.please call me soon u can
                                 thanks.i’m back.i was gonna come to ur
                                 house tomorrow.but i don’t know if u want
                                 me to come to ur house tomorrow or
                                 no.please call me.
                  ROCKMORE:      Hi Karla I can’t talk right now. I will call u
                                 tomorrow. Tomorrow is not a good day. So
                                 don’t come tomorrow.          I will call u
                                 tomorreow.




                                        4
Case 2:14-cv-06056-GXB Document 23 Filed 09/16/15 Page 5 of 29 PageID #: 339




                 ROCKMORE:      Karla I’m in court right now. U left me
                                hanging at a really bad time. U didn’t even
                                have the courtesy to call me that Monday
                                morning [Sept. 17, 2012]. You knew it was a
                                holiday [Rosh Hashana] and u know I have
                                to go to work. To not call or come to work
                                monday motning after u said u would was
                                not right. I allowed your little sister to stay
                                in the house this Summer etc. I thought we
                                had a better relationship than that.
                 LOPEZ-SERRANO: Im so sorry what i did to u i just want my
                                stuff and my week pay because u may not let
                                me work for u i am so sorry please forgive
                                me mrs allison
                 ROCKMORE:      I was hoping that you would be working for
                                me for many years. December would’ve been
                                1 year at my house. I’ve paid u for days off
                                when ur mother needed you, given u
                                holidays off. I just have you Labor Day even
                                though I really needed you that day. There
                                were no kids home this summer, yet the
                                house is a mess and disorganized.             I
                                overlooked it all.
                 LOPEZ-SERRANO: At least let me get my cloths.

                                If u r going to pay me pay me when I go get
                                my cloths and if ur not going to pay me then
                                don’t
(Sun. 9/30/12)   LOPEZ-SERRANO: Hi, Mrs Allison,please Mrs let me come back
                                to work for you.or just let me get my stuff
                                back please .I’m sorry what i did to you
                                please for give me and give me another
                                chanse.
(Mon. 10/8/12)   LOPEZ-SERRANO: Hi,Mrs good morning, I just want to let u
                                know . . . [Omitted from Court Exhibit]




                                       5
Case 2:14-cv-06056-GXB Document 23 Filed 09/16/15 Page 6 of 29 PageID #: 340




[Date Omitted]    ROCKMORE:      I still can’t get over what you did to me. Not
                                 coming to work for days. Not having the
                                 courtesy and respect to call me that u
                                 weremt coming. I had to call you hours after
                                 you were supposed to be here. It was a
                                 holiday. I had family coming. You left me
                                 hanging. I had to go hire people on an
                                 emergency basis. That cost me money to
                                 replace you on an emergency basis. Mot to
                                 mention that i work and . . . [Omitted from
                                 Court Exhibit]
(Sat. 10/20/12)   ROCKMORE:      Hi Karla. Ur clothes are at the end of the
                                 driveway. Please get them before 9 like I
                                 said in my last message. Thank u
                  LOPEZ-SERRANO: Hi, what r about the money?

                                     Is in there I won’t stop coming to ur house if
                                     you don’t pay me
                  ROCKMORE:          I’ve told you. U cost me hundreds of dollars
                                     to replace u on an emergency basis for ur
                                     failure to show up.

                                 Now ur threatening me. I will call the
                                 police.
                  LOPEZ-SERRANO: So that’s not my business u need to give me
                                 my money.I don’t care.
                  ROCKMORE:      This is the last communication I am having
                                 w you. Ur clothes are at the end of the
                                 driveway. I’m not leaving them out all day.
                                 If they r not picked up by 9 I will call the
                                 police make a report that those items were
                                 here for u to pick up and u didn’t pick them
                                 up. Then I will give them to charity. Don’t
                                 contact me again. I’ve done so much for u
                                 and your sisters. You are disrespectful and
                                 threatening! 9 am is the deadline as I told
                                 you the other day. That’s it. End of story.
                  ROCKMORE:      This will confirm that Ur belongings were
                                 picked up in a black/ dark car at
                                 approximately 9:10 am. Plz don’t’ [sic] call
                                 or contact to come to my . . . [Omitted from
                                 Court Exhibit]




                                        6
Case 2:14-cv-06056-GXB Document 23 Filed 09/16/15 Page 7 of 29 PageID #: 341




B.       The State Court Action

         Based on the allegations outlined above, on December 7, 2012, the Plaintiff

commenced an action in the Nassau County Supreme Court against the Defendant

and her husband, Jonathan Edwards (the “State Court Action”). The State Court

Action asserts violations of the NYLL only.

         Apparently, discovery was conducted in the State Court Action and the

parties’ depositions were completed.        The Plaintiff alleges that she expended

significant efforts and legal fees in prosecuting that matter.

         In her amended complaint, Lopez-Serrano alleged that she intended to

discontinue the State Court Action in order to pursue the instant action, which

asserts violations of the FLSA in addition to the NYLL. In this regard, the Court

notes that the records maintained by the New York Unified Court System indicate

that the State Court Action was discontinued on July 1, 2015. See Lopez-Serrano v.

Rockmore,      Index    No.   14963/2012,       WebCivil   Supreme,   available    at,

https://iapps.courts.state.ny.us/webcivil/FCASSearch (last visited September 10,

2015).

C.       The Instant Action

         In the amended complaint, Lopez-Serrano asserts the following grounds for

relief: (i) Rockmore failed to pay her the federal minimum wage for her work during

the Relevant Time Period, in violation of the FLSA; (ii) Rockmore failed to pay her

overtime wages, in violation of the FLSA; (iii) Rockmore threatened to call the

police, left her clothes in garbage bags at the end of her driveway, and threatened to




                                            7
Case 2:14-cv-06056-GXB Document 23 Filed 09/16/15 Page 8 of 29 PageID #: 342




give her clothes away to charity as retaliation for Lopez-Serrano’s demand that she

be paid her wages, in violation of the FLSA; (iv)       Rockmore failed to pay her

overtime wages, in violation of the NYLL; (v) Rockmore failed to timely pay her

weekly wages for work performed during the Relevant Time Period, in violation of

the NYLL; (vi) Rockmore failed to furnish wage statements to the Plaintiff, in

violation of the NYLL; (vii) Rockmore failed to furnish a wage notice to the Plaintiff,

in violation of the NYLL; and (viii) Rockmore threatened to call the police, left her

clothes in garbage bags at the end of her driveway, and threatened to give her

clothes away to charity as retaliation for Lopez-Serrano’s demand that she be paid

her wages, in violation of the NYLL.

      In connection with these alleged actions, Lopez-Serrano seeks to recover

unpaid wages for her work during the Relevant Time Period; unpaid overtime

wages for an unspecified time period; damages for failing to provide wage

statements and a wage notice, as provided in the NYLL; liquidated damages under

both the FLSA and NYLL; and attorneys’ fees.

D.    The Additional Facts Contained in the Proposed Second Amended
      Complaint

      In support of her cross-motion for leave to further amend her complaint,

Lopez-Serrano submitted a proposed Second Amended Complaint (the “PSAC”).

The PSAC adds the following relevant facts:

      During her employment with Rockmore, Lopez-Seranno was a live-in

domestic worker, as that term is defined in 29 U.S.C. § 216(b)(21). In this regard,




                                          8
Case 2:14-cv-06056-GXB Document 23 Filed 09/16/15 Page 9 of 29 PageID #: 343




she was required to be present at Rockmore’s home from 8:00 A.M. on Monday until

7:00 P.M. on Friday each week.

      It is alleged that the parties had no agreement, written or otherwise, to

exclude meal periods and other periods of “complete freedom from all duties” from

compensable working time.        The PSAC alleges that, in the absence of such an

agreement, Rockmore was required to pay Lopez-Serrano for all of the time that she

was required to be on the premises or on duty, namely 8:00 A.M. on Monday until

7:00 P.M. on Friday.

      In this regard, the PSAC alleges that the Plaintiff reported for work on

Monday, September 3, 2012 at approximately 8:00           A.M.   and remained at the

Rockmore residence until approximately 7:00     P.M.   on Friday, September 7, 2012.

According to the Plaintiff, all of this time was compensable as follows:      “[H]er

compensable hours were approximately 107 hours, and the minimum wages owed to

her were $775.75 (107 x $7.25).” However, Rockmore paid the Plaintiff only $500

for that period.

      As to the Relevant Time Period, the Plaintiff similarly reported for work on

Monday, September 10, 2012 at approximately 8:00          A.M.   and remained at the

Rockmore residence until approximately 7:00 P.M. on Friday, September 14, 2012,

but never got paid.

      The PSAC further alleges that, as retaliation against Lopez-Serrano,

Rockmore threatened to subpoena her then-current employer to testify in the State

Court Action. Rockmore maintained that the employer’s testimony was needed to




                                          9
Case 2:14-cv-06056-GXB Document 23 Filed 09/16/15 Page 10 of 29 PageID #: 344




verify Lopez-Serrano’s claim for lost wages in that matter. However, even after

Lopez-Serrano voluntarily withdrew her claim for lost wages in the State Court

Action, Rockmore nevertheless subpoenaed her employer to compel him to testify.

According to the Plaintiff, these actions were designed to injure Lopez-Serrano’s

employment prospects and were motivated by retaliation against her.

      Based on these allegations, which supplement those contained in the

amended complaint, Lopez-Serrano asserts the following grounds for relief in the

PSAC:    (i) Rockmore regularly failed to pay her the federal minimum wage

throughout her employment, including during the Relevant Time Period and the

week of September 3, 2012, in violation of the FLSA; (ii) Rockmore threatened to

call the police, left her clothes in garbage bags at the end of her driveway, and

threatened to give her clothes away to charity as retaliation for Lopez-Serrano’s

demand that she be paid her wages, in violation of the FLSA; (iii) Rockmore failed

to pay her overtime wages, in violation of the NYLL; (iv) Rockmore failed to timely

pay her weekly wages for work performed during the Relevant Time Period, in

violation of the NYLL; (v) Rockmore failed to furnish wage statements to the

Plaintiff, in violation of the NYLL; (vi) Rockmore failed to furnish a wage notice to

the Plaintiff, in violation of the NYLL; (vii) Rockmore threatened to call the police,

left her clothes in garbage bags at the end of her driveway, and threatened to give

her clothes away to charity as retaliation for Lopez-Serrano’s demand that she be

paid her wages, in violation of the NYLL; and (viii) Rockmore retaliated against

Lopez-Serrano by serving a subpoena on her then-current employer to compel him




                                         10
Case 2:14-cv-06056-GXB Document 23 Filed 09/16/15 Page 11 of 29 PageID #: 345




to testify in the State Court Action, which was intended to injure the Plaintiff’s

employment prospects, in violation of the NYLL.

                                 II.    Discussion

A.    The Applicable Legal Standards

      1.     The Standard for Dismissal under Fed. R. Civ. P. 12(b)(6)

      Under Fed. R. Civ. P. 12(b)(6), a party may move to dismiss a cause of action

that “fail[s] to state a claim upon which relief can be granted.” “To survive a motion

to dismiss, the complaint must plead ‘enough facts to state a claim to relief that is

plausible on its face,’ Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570, 127 S. Ct. 1955,

167 L. Ed. 2d 929 (2007), and ‘allow[ ] the court to draw the reasonable inference

that the defendant is liable for the misconduct alleged,’ Ashcroft v. Iqbal, 556 U.S.

662, 678, 129 S. Ct. 1937, 173 L. Ed. 2d 868 (2009).” Otis-Wisher v. Medtronic, Inc.,

14-cv-3491, 2015 U.S. App. LEXIS 9565, at *2 (2d Cir. June 9, 2015).

      The Court notes that, in support of her motion to dismiss, Rockmore applies

“the outdated ‘no set of facts’ standard that had its origin in Conley v. Gibson, 355

U.S. 41, 78 S. Ct. 99, 2 L. Ed. 2d 80 (1957).” Bilal v. Westchester Cmty. College, 13-

cv-3161, 2014 U.S. Dist. LEXIS 87177, at *7 n.2 (S.D.N.Y. June 25, 2014); see Def.

Memo of Law at 7 (citing Conley for the now-outmoded principle that dismissal is

appropriate only where the Court finds “beyond doubt that the plaintiff can prove

no set of facts in support of his or her claims”). As the court in Bilal noted, “[t]hat

standard ‘earned its retirement’ in 2007.” Id. (citing Twombly, 550 U.S. at 563).




                                          11
Case 2:14-cv-06056-GXB Document 23 Filed 09/16/15 Page 12 of 29 PageID #: 346




      2.     The Standard for Leave to Amend under Fed. R. Civ. P. 15(a)

      Generally, after a statutorily fixed time period, a party requires leave of the

Court in order to amend his or her pleading. See Fed. R. Civ. P. 15(a)(2). “The

court should freely give leave when justice so requires.” Id.

      However, where, as here, the Plaintiff seeks to amend her pleading while a

motion to dismiss is pending, the Court “ ‘has a variety of ways in which it may deal

with the pending motion to dismiss, [including] denying the motion as moot [or]

considering the merits of the motion in light of the’ ” PSAC. Schwartzco Enters.

LLC v. TMH Mgmt., LLC, 11-cv-1082, 2014 U.S. Dist. LEXIS 160856, at *3

(E.D.N.Y. Nov. 17, 2014) (Spatt, J.) (internal brackets omitted) (quoting Roller

Bearing Co. of Am., Inc. v. Am. Software, Inc., 570 F. Supp. 2d 376, 384

(D. Conn. 2008)).

      Here, the Court finds that Rockmore had an adequate opportunity to respond

to the PSAC, and, in fact, submitted an extensive legal memorandum addressing

the merits of Lopez-Serrano’s motion to amend.           Accordingly, the merits of

Rockmore’s motion to dismiss will be considered in light of the PSAC.            See

Schwartzco, 2014 U.S. Dist. LEXIS 160856, at *4 (quoting Haag v. MVP Health

Care, 866 F. Supp. 2d 137, 140 (N.D.N.Y. 2012)).

      If the PSAC cannot survive the motion to dismiss, then the Plaintiff’s cross-

motion to amend will be denied as futile. See id. (quoting Haag, 866 F. Supp. 2d at

140); see also Dougherty v. Town of N. Hempstead Bd. of Zoing Appeals, 282 F.3d




                                          12
Case 2:14-cv-06056-GXB Document 23 Filed 09/16/15 Page 13 of 29 PageID #: 347




83, 88 (2d Cir. 2002) (noting that “[a]n amendment to a pleading will be futile if a

proposed claim could not withstand a motion pursuant to Rule 12(b)(6)).

      3.     As to Whether the Court May Consider Evidence Outside the
             Pleading

      In the legal memorandum that Rockmore submitted in support of her motion

to dismiss, she correctly states that “when reviewing the motion to dismiss, the

court is limited to the four corners of the complaint.” See Pl. Memo of Law at 7.

However, notwithstanding that statement, she also submitted an affirmation by

David S. Feather, Esq., which attaches eight separate documentary exhibits,

including: (i) the Plaintiff’s complaint in the State Court Action; (ii) Rockmore’s

answer in the State Court Action; (iii) the Plaintiff’s amended complaint in this

action; (iv) an October 16, 2014 Certification Order issued in the State Court Action;

(v) the complete transcript of Lopez-Serrano’s deposition testimony in the State

Court Action; (vi) copies of text messages between the parties; (vii) a letter from

Rockmore’s counsel to the Plaintiff’s counsel, enclosing a check; and (viii) a United

States Department of Labor Fact Sheet.

      In opposition, Lopez-Serrano also submitted a declaration by Steven S.

Moser, Esq., which attached: (i) the complete transcript of Rockmore’s deposition

testimony in the State Court Action; and (ii) a second letter from Rockmore’s

counsel to the Plaintiff’s counsel.

      As a threshold issue, the Court must consider whether it may consider any of

this extrinsic evidence in adjudicating the motion under Rule 12(b)(6).




                                         13
Case 2:14-cv-06056-GXB Document 23 Filed 09/16/15 Page 14 of 29 PageID #: 348




      It is well-settled that “[t]he materials a court may consider when deciding a

motion to dismiss under Rule 12(b)(6) are limited.” Armand v. Osbourne, 11-cv-

4182, 2014 U.S. Dist. LEXIS 23911, at *9 (E.D.N.Y. Feb. 24, 2014). In fact, “a court

considering a . . . motion to dismiss for failure to state a claim generally may not

consult evidence outside the pleadings.” Vailette v. Lindsay, 11-cv-3610, 2014 U.S.

Dist. LEXIS 114701, at *8 (E.D.N.Y. Aug. 18, 2014). Rather, in adjudicating such a

motion, the Court may only consider:

      (1) facts alleged in the complaint and documents attached to it or
      incorporated in it by reference, (2) documents ‘integral’ to the
      complaint and relied upon in it, even if not attached or incorporated by
      reference, (3) documents or information contained in defendant’s
      motion papers if plaintiff has knowledge or possession of the material
      and relied on it in framing the complaint, (4) public disclosure
      documents required by law to be, and that have been, filed with the
      Securities and Exchange Commission, and (5) facts of which judicial
      notice may properly be taken under Rule 201 of the Federal Rules of
      Evidence.

Environmental Servs., 7 F. Supp. 2d at 270 (quoting In re Merrill Lynch & Co., 273

F. Supp. 2d 351, 356-57 (S.D.N.Y. 2003)).

      “ ‘Federal courts have complete discretion to determine whether or not to

accept the submission of any material beyond the pleadings offered in conjunction

with a Rule 12(b)(6) motion.’ ” Environmental Servs., 7 F. Supp. 2d at 270 (quoting

Carione v. United States, 368 F. Supp. 2d 186, 191 (E.D.N.Y. 2005)).

      Applying these principles, in its discretion, the Court finds that the complaint

in the State Court Action; Rockmore’s answer in the State Court Action; and the

October 16, 2014 Certification Order issued in the State Court Action, may properly

be considered in adjudicating the instant motion to dismiss. In the Court’s view,



                                         14
Case 2:14-cv-06056-GXB Document 23 Filed 09/16/15 Page 15 of 29 PageID #: 349




these documents are precisely the kind of public records of which it may

appropriately take judicial notice under Rule 12(d). See In re Mirena IUD Prods.

Liab. Litig., 29 F. Supp. 3d 345 (S.D.N.Y. 2014) (noting that “[t]he Court may [ ] rely

on matters of public record, such as judicial documents and official court records, in

deciding whether to dismiss a complaint” (citing Pani v. Empire Blue Cross Blue

Shield, 152 F.3d 67, 75 (2d Cir. 1998))); Lastra v. Barnes & Noble Bookstore, 11-cv-

2173, 2011 U.S. Dist. LEXIS 150112, at *17-*18 n.2 (S.D.N.Y. Jan. 3, 2012) (noting

that “ ‘a court may take judicial notice of public records and of admissions in

pleadings and other documents in the public record filed by a party in other judicial

proceedings that contradict the party’s factual assertions in a subsequent action’ ”

(quoting Munno v. Town of Orangetown, 391 F. Supp. 2d 263, 268-69 (S.D.N.Y.

2005)), aff’d, 523 F. App’x 32 (2d Cir. 2013).

      Similarly, in its discretion, the Court finds that, although clearly incomplete,

the copy of the parties’ text messages, which was submitted in support of

Rockmore’s motion to dismiss, also falls within the recognized categories of

documents that the Court may consider on a Rule 12(b)(6) motion. In this regard,

Lopez-Serrano quoted various portions of these text messages in the amended

complaint.   The alleged contents of these messages also form the basis of the

Plaintiff’s claims of retaliation under the FLSA and NYLL and underpin her

allegations of willfulness. Accordingly, the Court finds it reasonable to conclude

that they are both incorporated by reference in and integral to the amended

complaint. See Global Network Communs., Inc., 458 F.3d 150 (2d Cir. 2006) (noting




                                           15
Case 2:14-cv-06056-GXB Document 23 Filed 09/16/15 Page 16 of 29 PageID #: 350




that documents are integral to a complaint where the plaintiff relied on the terms

and effect of the documents in drafting the complaint (quoting Chambers v. Time

Warner, Inc., 282 F.3d 147, 153 (2d Cir. 2002) (internal quotation marks omitted));

Jones v. Halstead Mgmt. Co., LLC, 14-cv-3125, 2015 U.S. Dist. LEXIS 12807, at *13

(S.D.N.Y. Jan. 27, 2015) (“When the document reflects a factual issue (such as an

email correspondence) and the complaint specifically refers to the contents of the e-

mail communication, the Court can ‘deem the e-mail incorporated in the complaint

and therefore subject to consideration in its review of the adequacy of the

[allegations in the] complaint.’ ” (quoting DiFolco v. MSNBC Cable L.L.C., 622 F.3d

104, 112 (2d Cir. 2010))).

      The Court reaches a different conclusion with respect to the transcripts of the

parties’ depositions in the State Court Action and the communications among

counsel. In the Court’s view, none of this evidence was incorporated by reference in

the amended complaint. Nor does it appear that Lopez-Serrano relied upon such

evidence in drafting the complaint. Thus, in its discretion, the Court declines to

consider the parties’ testimony in the State Court Action and the letters exchanged

between counsel in adjudicating the instant motion.

B.    As to Whether the Plaintiff’s Claims for Unpaid Wages are Moot

      Rockmore contends that the Plaintiff’s causes of action based on unpaid

wages under the FLSA and NYLL are moot. In particular, Rockmore asserts that

she tendered an escrow check in the amount of $500 to the Plaintiff, which




                                         16
Case 2:14-cv-06056-GXB Document 23 Filed 09/16/15 Page 17 of 29 PageID #: 351




represents her wages for the Relevant Time Period.          The Court rejects this

argument for several reasons.

      Initially, the Court declines to consider the subject escrow check and cover

letter, as such extrinsic documentary evidence was improperly submitted in support

of this Rule 12(b)(6) motion. The Court’s consideration of the adequacy of Lopez-

Serrano’s allegations in this regard is limited to the four corners of the PSAC. With

that in mind, the Court sees no plausible basis for concluding that any of the

Plaintiff’s wage claims are moot.

      Accordingly, to the extent Rockmore seeks to dismiss the Plaintiff’s FLSA

and NYLL claims based on unpaid wages, her motion is denied.

C.    As to Whether the Plaintiff is Exempt from the FLSA’s Overtime
      Provisions

      Rockmore contends that Lopez-Serrano is precluded from enforcing the

FLSA’s overtime provisions because live-in domestic workers are statutorily exempt

from those provisions. However, in the PSAC, the Plaintiff withdrew her cause of

action for overtime wages under the FLSA. Accordingly, this subject is moot and

the Court need not further address Rockmore’s contention in this regard.

D.    As to Whether the Plaintiff has Plausibly Stated a Claim for
      Overtime Wages under the FLSA and NYLL

      Rockmore contends that the PSAC lacks the specificity required to survive a

challenge under Rule 12(b)(6). However, in support of this contention, Rockmore

relies almost singularly upon the Plaintiff’s deposition testimony in the State Court

Action, which Rockmore believes contradicts Lopez-Serrano’s allegations. However,




                                         17
Case 2:14-cv-06056-GXB Document 23 Filed 09/16/15 Page 18 of 29 PageID #: 352




this Court has already declined to consider the deposition testimony in the State

Court Action as outside the four corners of the pleading.

       In opposing Lopez-Serrano’s motion for leave to amend, Rockmore asserts

that “despite this second opportunity to [amend the pleading], the Plaintiff has

failed to produce sufficient evidence, or even a general recollection or reasonable

inference, to show the amount of time for which she was allegedly not paid

correctly.”   See Def. Memo of Law at 8 (emphasis supplied). This reasoning is

unpersuasive, as it fails to address the relevant issue. The Plaintiff is under no

obligation to produce any evidence at this early stage of the litigation. On the

contrary, the Court’s focus is limited to the plausibility of the allegations in the

PSAC. With that aim in mind, the Court finds that the PSAC plausibly states

enough factual matter to state claims under the FLSA and NYLL.

       Furthermore, in arguing in support of dismissal, Rockmore does not

adequately distinguish between Lopez-Serrano’s overtime claim under the NYLL

and her minimum wage claims under both the FLSA and the NYLL. These claims

are subject to unique pleading standards and command individualized attention.

       First, with respect to Lopez-Serrano’s FLSA claim based on Rockmore’s

alleged failure to pay her the federally mandated minimum wage throughout her

employment, her burden at this stage is arithmetical. As was explained in Johnson

v. Equinox Holdings, Inc., 13-cv-6313, 2014 U.S. Dist. LEXIS 91786 (S.D.N.Y. July

2, 2014):




                                         18
Case 2:14-cv-06056-GXB Document 23 Filed 09/16/15 Page 19 of 29 PageID #: 353




       The FLSA provides that every employer shall pay to each of his
       employees a minimum of $7.25 an hour. 29 U.S.C. § 206(a). An
       employee cannot state a claim for a minimum wage violation “unless
       [his] average hourly wage falls below the federal minimum wage.”
       Lundy v. Catholic Health Sys. of Long Island, Inc., 711 F.3d 106, 115
       (2d Cir. 2013). A plaintiff’s average hourly wage is determined ‘by
       dividing his total remuneration for employment . . . in any workweek
       by the total number of hours actually worked by him in that workweek
       for which such compensation was paid.” 29 CFR § 778.109.

Id. at *7-*8.

       This pleading standard was recently reiterated in Serrano v. I. Hardware

Distribs., Inc., 14-cv-2488, 2015 U.S. Dist. LEXIS 97876 (S.D.N.Y. July 27, 2015),

where the court observed that “ ‘[t]o state an FLSA minimum wage claim, it is

sufficient for a plaintiff to allege facts about her salary and working hours, such

that a simple arithmetical calculation can be used to determine the amount owed

per pay period.’ ”   Id. at *6 (quoting Tackie v. Keff Enters. LLC, 14-cv-2074, 2014

U.S. Dist. 130148, at *3 (S.D.N.Y. Sept. 16, 2014)).

       Applying these standards, the Court finds that Lopez-Serrano has pleaded

enough plausible facts to state a claim for minimum wage violations under the

FLSA. In particular, the PSAC alleges that Lopez-Serrano did not agree to exclude

any periods of time from her otherwise compensable working time. Further, she

alleges that during the weeks of September 3 and September 10, 2012, she reported

for work on Monday morning at approximately 8:00 A.M. and remained on duty in-

residence at Rockmore’s home until approximately 7:00 P.M. on Friday evening. The

PSAC alleges that, in both of the specified weeks, Lopez-Serrano worked 107 hours,

for which she was compensated at a flat rate of $500. Arithmetically, this amounts




                                          19
Case 2:14-cv-06056-GXB Document 23 Filed 09/16/15 Page 20 of 29 PageID #: 354




to $4.67 per hour, well below the minimum wage. On a more developed factual

record, it may turn out that the Plaintiff did not, in fact, work all 107 hours during

these weeks.      However, at the pleading stage, these mathematically sound

allegations suffice to defeat dismissal.

         The Court notes that its conclusion is limited to the weeks of September 3

and September 10, 2012. To the extent Lopez-Serrano alleges simply that these

workweeks were also typical of her entire approximately one-year employment, her

assertion is conclusory and insufficient to state a claim under the FLSA. See Gomez

v. El Rancho De Andres Carne De Tres Inc., 12-cv-1264, 2014 U.S. Dist. LEXIS

45580, at *9-*10 (E.D.N.Y. Mar. 11, 2014) (Report and Recommendation)

(recommending dismissal of an FLSA claim where the complaint did not “describe

the amount plaintiff was paid or how many hours he worked”; noting that “[i]n

order for the plaintiff’s allegations to rise to the level of a plausible FLSA claim, he

must provide more detail than the conclusory statement that defendants failed to

pay him the minimum wage” (quoting Dejesus v. HF Mgmt. Servs., LLC, 726 F.3d

85, 90 (2d Cir. 2013)), adopted, 2014 U.S. Dist. LEXIS 43988 (E.D.N.Y. Mar. 31,

2014).

         The Court reaches a similar conclusion with respect to the Plaintiff’s

overtime claim under the NYLL. At the outset, the Court notes that the pleading

standard applicable to overtime claims under the NYLL is analytically identical to

its federal law counterpart under the FLSA. See Amponin v. Olayan, 14-cv-2008,

2015 U.S. Dist. LEXIS 31778, at *4-*5 (S.D.N.Y. Mar. 16, 2015) (noting that “[t]he




                                           20
Case 2:14-cv-06056-GXB Document 23 Filed 09/16/15 Page 21 of 29 PageID #: 355




NYLL adopts [the FLSA] standard” and observing that the applicable “pleading

standard – and the degree of specificity needed to state an overtime claim under the

FLSA and NYLL – has been addressed by the Second Circuit” in a single series of

cases).

      In this regard, the level of specificity required to state a cognizable claim for

unpaid overtime was described in Lundy v. Catholic Health Sys. of Long Island,

Inc., 711 F.3d 106 (2d Cir. 2013) and its progeny. See Dejesus, supra, 726 F.3d at

90; Nakahata v. New York-Presbyterian Healthcare Sys., Inc., 723 F.3d 192, 200-01

(2d Cir. 2013). In particular, “[t]he Second Circuit announced . . . that, ‘to state a

plausible [ ] overtime claim, a plaintiff must sufficiently allege 40 hours of work in a

given workweek as well as some uncompensated time in excess of the 40 hours.’ ”

Burns v. Haven Manor Health Care Ctr., LLC, 13-cv-5610, 2015 U.S. Dist. LEXIS

29194, at *5-*6 (E.D.N.Y. Mar. 10, 2015) (quoting Lundy, 711 F.3d at 114).

      Like the minimum wage standard, courts have articulated the overtime

pleading standard in arithmetical terms.       See, e.g., DeJesus, 726 F.3d at 88-89

(“[T]allying the plausible factual allegations, [the court] could not get beyond forty

hours in any given week and therefore to a plausible claim for overtime”). In order

“[t]o satisfy this standard, plaintiffs are not required to ‘keep careful records and

plead their hours with mathematical precision’; however, the standard requires that

plaintiffs provide ‘complaints with sufficiently developed factual allegations.’ ”

Burns, 2015 U.S. Dist. LEXIS 29194, at *8 (quoting DeJesus, 726 F.3d at 90).




                                          21
Case 2:14-cv-06056-GXB Document 23 Filed 09/16/15 Page 22 of 29 PageID #: 356




          Applying these standards, the Court is satisfied that the PSAC supplies

sufficient factual matter to pass muster under Rule 12(b)(6).         In particular, as

noted above, Lopez-Serrano alleges that during the weeks of September 3 and

September 10, 2012, she reported for work on Monday morning at approximately

8:00 A.M. and remained on duty at the Rockmore residence until approximately 7:00

P .M .   on Friday evening, for a total of 107 compensable hours. Of importance, she

alleges that she was not paid the required time-and-a-half for any hours that she

worked in excess of forty. In the Court’s view, such allegations are sufficient to

survive dismissal under the trilogy of cases outlined above. See Lundy, 711 F.3d at

115 (affirming dismissal of FLSA claims where the plaintiffs failed to allege a single

workweek in which they worked at least forty 40 hours and also worked

uncompensated time in excess of 40 hours).

          However, the Court again notes that its conclusion is limited to the weeks of

September 3 and September 10, 2012. To the extent the PSAC alleges generalized

overtime violations that occurred during weeks in which Lopez-Serrano did not

specifically plead the hours that she worked, she has not stated a viable claim

under the FLSA. See id.

          Finally, the Court turns to Lopez-Serrano’s claim, made pursuant to

NYLL § 191, based on Rockmore’s failure to timely pay her wages for work

performed during the Relevant Time Period. That provision of state law “governs

the frequency of wage payments for enumerated categories of employees,” namely,

“manual workers,” “railroad workers,” “commissioned salespersons,” and “clerical




                                            22
Case 2:14-cv-06056-GXB Document 23 Filed 09/16/15 Page 23 of 29 PageID #: 357




and other workers.” Auffarth v. Herald Natl. Bank, 2012 NY Slip Op 33343(U),

2012 N.Y. Misc. LEXIS 6307, at *3 (Sup. Ct. N.Y. Co. July 25, 2012) (citing

NYLL § 191(a)-(d)).   Lopez-Serrano does not specifically allege which of these

categories of workers she falls into, but alleges that she was “entitled to payment on

a weekly basis.” See PSAC ¶ 70. Accordingly, the Court presumes that the Plaintiff

is invoking NYLL § 191(a), which applies to “manual workers.” The NYLL defines a

“manual worker” as a “mechanic, workingman, or laborer,” which, in the Court’s

view, includes a domestic worker such as the Plaintiff. See NYLL § 190(4); see also

Lopez-Martinez v. Gokul Inc. of N.Y., 13-cv-467, 2013 U.S. Dist. LEXIS 165311

(N.D.N.Y. Nov. 21, 2013) (describing hotel employees whose primary job duties

included cleaning guest rooms and doing the laundry as “manual workers” in a case

involving claims under the NYLL).

      Relevant here, the statute provides that manual workers “shall be paid

weekly and not later than seven calendar days after the end of the week in which

the wages are earned.”    Id. § 191(a)(i). “An employer’s failure to timely pay its

employees for their work . . . entitles the employees to sue for their unpaid wages”

and related damages. Id. § 198(1); see Ho v. Target Constr. of NY, Corp., 08-cv-

4750, 2011 U.S. Dist. LEXIS 33365, at *43 (E.D.N.Y. Mar. 28, 2011) (noting that the

statute authorizes an aggrieved employee to seek prejudgment interest; attorneys’

fees; costs; and, under certain circumstances, liquidated damages).

      In this case, Rockmore has not advanced any substantive argument directed

at the sufficiency of the pleading as it relates to NYLL § 191(a). Accordingly, the




                                         23
Case 2:14-cv-06056-GXB Document 23 Filed 09/16/15 Page 24 of 29 PageID #: 358




Court finds no rational basis for dismissing this claim under Rule 12(b)(6). The

PSAC plainly alleges that Lopez-Serrano reported for work at specified times

during the week of September 10, 2012. The PSAC further alleges that she was not

timely paid for the services she performed during that period. In the Court’s view,

these assertions plausibly allege a violation of NYLL § 191(a).

      Accordingly, to the extent Rockmore seeks to dismiss the Plaintiff’s minimum

wage and overtime claims on the grounds that they do not satisfy the applicable

pleading standards, her motion is denied.

E.    As to Whether the Plaintiff’s Claims under the FLSA are Time-Barred

      Rockmore contends that Lopez-Serrano’s claims under the FLSA are

untimely. The Court disagrees.

      The FLSA requires that any suit to enforce its wage and hour provisions

must be commenced within two years after the cause of action accrued.            See

29 U.S.C. § 255(a). When a violation is alleged to be willful, the limitations period

is enlarged from two years to three years. See id.

      As a preliminary matter, the Court must determine the dates on which

Lopez-Serrano’s various causes of action accrued. In this regard, the Court notes

that “ ‘[a] cause of action [for unpaid and overtime wages] under the FLSA accrues

on the regular payday immediately following the work period for which services

were rendered and not properly compensated.’ ” D’Arpa v. Runway Trucking Corp.,

12-cv-1120, 2013 U.S. Dist. LEXIS 85697, at *19 (E.D.N.Y. June 18, 2013) (quoting

Doo Nam Yang v. ACBL Corp., 427 F. Supp. 2d 327, 337 (S.D.N.Y. 2005)).




                                         24
Case 2:14-cv-06056-GXB Document 23 Filed 09/16/15 Page 25 of 29 PageID #: 359




        Applying this rule, the cause of action based on Rockmore’s failure to pay

Lopez-Serrano the minimum wage for the work she performed during the week of

September 3, 2012, accrued on September 7, 2012 – the Friday, i.e., the regular

payday, immediately following the Plaintiff’s uncompensated workweek. Similarly,

the claim based on Rockmore’s failure to pay the Plaintiff the minimum wage for

the work she performed during the Relevant Time Period, accrued on September 14,

2012.

        In contrast, the cause of action claim based on retaliation, which arose from

Rockmore’s threats to call the police against the Plaintiff, leaving her belongings at

the end of her driveway, and threatening to donate her clothes to charity, accrued

on October 20, 2012, the date of allegedly retaliatory action.          See Knight v.

Columbus, 19 F.3d 579, 585 (11th Cir. 1994) (holding that where an FLSA

retaliation claim is premised upon a discrete act, the statute of limitations begins to

run from the time of the act), cert. denied, 513 U.S. 929, 115 S. Ct. 318, 130

L. Ed. 2d 280 (1994).

        Parenthetically, the Court notes that Lopez-Serrano’s retaliation claim

arising from Rockmore’s having subpoenaed her employer to testify in the State

Court Action was only asserted under the NYLL, and therefore is not implicated in

this discussion of federal law.

        This action was commenced on October 15, 2014. Thus, even applying the

FLSA’s two-year statute of limitations, the Plaintiff’s retaliation claim is timely.




                                           25
Case 2:14-cv-06056-GXB Document 23 Filed 09/16/15 Page 26 of 29 PageID #: 360




      However, Lopez-Serrano’s minimum wage claim is time-barred unless

Rockmore’s conduct was willful, in which case the claim falls within the extended

three-year limitations period.   In this regard, the Court notes that the Plaintiff

explicitly alleged that Rockmore’s conduct was “willful, in that she knew or should

have known that her actions, as described [in the PSAC], violated the FLSA.” See

PSAC ¶ 57.

      Rockmore does not articulate any relevant pleading standard that she

contends should be applied here. Rather, she relied strictly upon cases which were

decided in the procedurally inapposite posture of motions for summary judgment.

See, e.g., McLaughlin v. Richland Shoe Co., 486 U.S. 128, 108 S. Ct. 1677, 100

L. Ed. 2d 115 (1988) (involving review of a district court’s grant of summary

judgment); Bowrin v. Catholic Guardian Soc’y, 417 F. Supp. 2d 449 (S.D.N.Y. 2006)

(resolving cross-motions for summary judgment).

      Here, again, Rockmore appears to misconstrue the Plaintiff’s burden on a

motion to dismiss under 12(b)(6).       In particular, she asserts that “[t]here is

absolutely no evidence that Ms. Rockmore either knew or showed reckless disregard

for the fact that her actions may have been in violation of the FLSA.” Def. Memo of

Law at 12. She also asserts that “the Plaintiff simply cannot make a competent

demonstration that there is a trial worthy issue as to” willfulness.

      However, contrary to Rockmore’s contentions, at the pleading stage of the

case, there is no requirement that the Plaintiff proffer evidence as to the viability of

her claims or demonstrate the existence of a triable issue of fact. As noted above,




                                          26
Case 2:14-cv-06056-GXB Document 23 Filed 09/16/15 Page 27 of 29 PageID #: 361




Lopez-Serrano is required only to plead enough facts to make it plausible that

Rockmore acted willfully. Upon the Court’s review of the pleading, she has met this

burden.

      Aside from explicitly stating that Rockmore’s actions were willful, the PSAC

also alleges the following facts: Lopez-Serrano performed services for Rockmore

from September 10 through September 14; Rockmore never paid her for those

services; when the Plaintiff failed to report to work on Monday, September 17, 2012,

Rockmore terminated her. On September 25 and October 20, 2012, the Plaintiff

specifically requested that Rockmore tender her final week’s pay.          On both

occasions, Rockmore refused. Instead, Rockmore, a practicing attorney, made the

following statements:

      I was hoping that you would be working for me for many years.
      December would’ve been 1 year at my house. I’ve paid u for days off
      when ur mother needed you, given u holidays off. I just have you
      Labor Day even though I really needed you that day. There were no
      kids home this summer, yet the house is a mess and disorganized. I
      overlooked it all.

                                   *     *      *

      I still can’t get over what you did to me. Not coming to work for days.
      Not having the courtesy and respect to call me that u weremt coming.
      I had to call you hours after you were supposed to be here. It was a
      holiday. I had family coming. You left me hanging. I had to go hire
      people on an emergency basis. That cost me money to replace you on
      an emergency basis. . . .

      After making these statements, Rockmore also allegedly threatened to call

the police if Lopez-Serrano sought to collect the wages in person, and left her

belongings at the end of Rockmore’s driveway.       Under these circumstances, the

Court finds that the allegations in the PSAC, taken as true, are sufficient to permit


                                         27
Case 2:14-cv-06056-GXB Document 23 Filed 09/16/15 Page 28 of 29 PageID #: 362




the plausible conclusion that Rockmore deliberately failed to pay the Plaintiff for

work that she performed, and, further, that Rockmore, an attorney, knew or should

have known that doing so constituted a violation of the relevant labor laws.

Therefore, the Court finds an adequate basis for applying the three-year statute of

limitations for willful violations of the FLSA.

      Based on the foregoing, Rockmore’s motion, to the extent it seeks to dismiss

the Plaintiff’s FLSA claims as untimely, is denied.

F.    As to Rockmore’s Contention that the Plaintiff’s Overtime Claim is
      Precluded by her Deposition Testimony

      As has been stated in this opinion, the Court is prohibited from considering

evidence outside the pleading, including the parties’ prior deposition testimony, in

adjudicating the instant motion. Accordingly, Rockmore’s contention that Lopez-

Serrano’s overtime claim is precluded by such testimony is not relevant to the

instant analysis. To the extent Rockmore seeks dismissal on this basis, her motion

is denied.

G.    As to Whether the Instant Action is Impermissibly Duplicative of the
      State Court Action

      Rockmore contends that this action should be dismissed or, in the

alternative, stayed, because it is impermissibly duplicative of the earlier-filed State

Court Action. However, as noted above, the State Court Action has since been

discontinued.   Accordingly, this subject is moot and the Court need not further

address Rockmore’s contention in this regard.




                                          28
Case 2:14-cv-06056-GXB Document 23 Filed 09/16/15 Page 29 of 29 PageID #: 363




H.    As to Whether Dismissal is Appropriate Based on the Amended
      Complaint Being Unsigned

      Rockmore contends that the amended complaint is unsigned and therefore

fatally defective under Fed. R. Civ. P. 11(a). Although it appears that the amended

complaint was unsigned, as discussed in this opinion, the Court finds that the

PSAC, which is signed, is sufficient to survive Rule 12(b)(6) scrutiny. Accordingly,

Lopez-Serrano will be granted leave to file her second amended complaint with the

Court, and when she does so, she shall ensure that it complies in all respects with

the applicable Federal, Local, and Individual Rules.

                                  III.   Conclusion

      For the reasons stated in this opinion, the Defendant’s motion to dismiss is

denied in its entirety, and the Plaintiff’s cross-motion to amend is granted. The

Plaintiff is hereby granted leave to electronically file her second amended complaint

within 20 days of the date of this order.

      It is

SO ORDERED

Dated: Central Islip, New York
September 16, 2015
                                             /s/ Arthur D. Spatt___________________
                                             ARTHUR D. SPATT
                                             United States District Judge




                                            29
